                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JOHN ANTHONY GENTRY,                           )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )       Case No. 3:17-cv-0020
                                               )       Judge Aleta A. Trauger
THE STATE OF TENNESSEE et al.,                 )
                                               )
        Defendants.                            )
                                               )


                                            ORDER

        Before the court is the plaintiff’s Emergency Motion for De Novo Determination:

Magistrate’s Report and Recommendation Dated September 6, 2017 and Incorporated

Memorandum of Law. (Doc. No. 117.) In this motion, the plaintiff seeks review of the magistrate

judge’s Report and Recommendation (“R&R”) (Doc. No. 116) recommending that the plaintiff’s

Emergency Motion for a Temporary Restraining Order and Preliminary Injunction Against

Defendants Pamela Anderson Taylor and Brenton Hall Lankford (Doc. No. 86) be denied.

        When a party files objections 1 to a magistrate judge’s report and recommendation

regarding a dispositive motion, the district court must review de novo any portion of the report

and recommendation to which objections are properly lodged. Fed. R. Civ. P. 72(b)(3); 28

U.S.C. § 636(b)(1)(B) & (C). In conducting its review, the district court “may accept, reject, or

modify the recommended disposition; receive further evidence; or return the matter to the

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            The Local Rules of this court specify that objections to a dispositive motion “shall
be . . . in the form of a motion for de novo determination by the District Judge and shall state
with particularity the specific portions of the Magistrate Judge’s report or proposed findings or
recommendations as to which an objection is made . . . .” L.R. 72.03(b)(1).




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magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3).

        The plaintiff’s primary objection to the R&R is based on his contention that “it is

preposterous” to apply those factors courts ordinarily consider in determining whether to grant a

temporary restraining order or preliminary injunction in a situation where, as here, the plaintiff

seeks to “restrain and enjoin” the defendants from “perpetrating a crime” upon the plaintiff.

(Doc. No. 117, at 5.) The plaintiff also objects to his case having been referred to the magistrate

judge in the first place and generally attacks the integrity and authority of the magistrate judge.

Otherwise, he largely rehashes the same arguments made in support of his motion for a

temporary restraining order and preliminary injunction.

        The court has reviewed de novo the plaintiff’s motion and supporting memorandum (Doc

Nos. 86, 87), the defendants’ responses (Doc. Nos. 91, 95), and the plaintiff’s replies (Doc. Nos.

94, 96) and hereby OVERRULES the plaintiff’s objections in toto. The court specifically rejects

the plaintiff’s suggestion that the magistrate judge has attempted to “dupe” the plaintiff and that

she is “in league with the state and conspires to deny Plaintiff his right of due process.” (Doc.

No. 117, at 8.) The court further finds—notwithstanding the plaintiff’s histrionic

argumentation—that it is appropriate to apply the same factors that ordinarily apply to the

consideration of a motion for a temporary restraining order or preliminary injunction in this case.

The magistrate judge’s R&R accurately summarizes the history of this action, the parties’

arguments, and the governing law, and the court perceives no error in her application of the law

to the facts of this case.

        The court therefore ACCEPTS and ADOPTS in its entirety the magistrate judge’s R&R

and DENIES the plaintiff’s Emergency Motion for a Temporary Restraining Order and




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Preliminary Injunction Against Defendants Pamela Anderson Taylor and Brenton Hall Lankford

(Doc. No. 86).

       It is so ORDERED.

       ENTER this 13th day of September 2017.




                                                ALETA A. TRAUGER
                                                United States District Judge




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